                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff,

        v.                                   Case No. 23-mj-00035-JAM

 CHLOE M. DASILVA,


        Defendant.

                                 MOTION FOR DETENTION

       Comes now the United States of America, by and through its undersigned counsel, and

hereby moves this Court to order the detention of Chloe M. DaSilva, pursuant to 18 U.S.C.

§ 3142(f)(2)(A), and states the following in support of the motion:

       1. This motion is being made at the defendant’s first appearance before a judicial officer.

A complaint has been filed charging the defendant with interference with a flight attendant, in

violation of 49 U.S.C. 46504.

       2. The United States submits that the defendant is a flight risk and that there is clear and

convincing evidence that there are no conditions which the Court could place on the defendant’s

release which would reasonably assure the defendant’s appearance in Court.

       3. The defendant is a flight risk because she is not a resident of Kansas City, Missouri.

The defendant was a passenger on a commercial airline that was diverted to Kansas City on a

flight intended to land in Chicago, Illinois, with a final destination of Boston, Massachusetts.




          Case 4:23-mj-00035-JAM Document 2 Filed 04/10/23 Page 1 of 2
       WHEREFORE, based on the foregoing, the United States requests that the Court hold a

detention hearing in accordance with 18 U.S.C. § 3142(f), and following such hearing, order the

detention of the defendant.

                                                           Respectfully submitted,

                                                           Teresa A. Moore
                                                           United States Attorney

                                              By           /s/Matthew A. Blackwood

                                                           Matthew A. Blackwood
                                                           Assistant United States Attorney

                                                           Charles Evans Whittaker Courthouse
                                                           400 East Ninth Street, Suite 5510
                                                           Kansas City, Missouri 64106
                                                           Telephone: (816) 426-3122



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on April 10,
2023, to the CM-ECF system of the United States District Court for the Western District of
Missouri, a copy of the foregoing document will be hand-delivered to the defendant at her first
appearance before a judicial officer.

                                                           /s/Matthew A. Blackwood
                                                           Matthew A. Blackwood
                                                           Assistant United States Attorney




                                               2



          Case 4:23-mj-00035-JAM Document 2 Filed 04/10/23 Page 2 of 2
